18-13359-shl      Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22 Main Document
                                             Pg and
                                   Hearing Date  1 of Time:
                                                      40 March 18, 2019 at 11:00 a.m. (EST)
                                         Objection Deadline: March 1, 2019 at 5:00 p.m. (EST)
                                           Reply Deadline: March 14, 2019 at 12:00 p.m. (EST)

Michael Luskin
Lucia Chapman
Alex Talesnick
LUSKIN, STERN & EISLER LLP
Eleven Times Square
New York, New York 10036
Tel.: (212) 597-8200
Fax: (212) 974-3205

Counsel for the Senior Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               )         Chapter 11
                                                     )
REPUBLIC METALS REFINING                             )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                )
                                                     )         (Jointly Administered)
                            Debtors.                 )
                                                     )         Related Doc. No. 553

                   OBJECTION OF THE SENIOR LENDERS
          TO MOTION TO COMPEL PAYMENT OF POST-PETITION RENT
         AND RELATED OBLIGATIONS PURSUANT TO 11 U.S.C. § 365(d)(3)




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206
and 209, New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami,
FL 33054 (4378), Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL
33014 (5833), Republic High Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102),
RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054
(7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic Metals Trading
(Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639) and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
18-13359-shl           Doc 698           Filed 03/01/19            Entered 03/01/19 16:55:22                          Main Document
                                                                 Pg 2 of 40


                                                    TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1
BACKGROUND ............................................................................................................................ 2
   A.     The Chapter 11 Cases ......................................................................................................... 2
   B.     Republic and The Rubin Family ......................................................................................... 3
   C.     The Leased Premises........................................................................................................... 5
   D.     The Senior Lenders’ Relationship with the Debtors ........................................................... 8
   E.     The Forbearance Agreement ............................................................................................. 11
   F.     The Cash Collateral Motion and Interim Cash Collateral Orders ..................................... 12
   G.     The Asahi Sale and the Lease Rejections ......................................................................... 13
ARGUMENT ................................................................................................................................ 14
   A. The Court Should Defer a Decision on the Motion Until All of the Estate’s Claims are
   Adjudicated ............................................................................................................................... 16
   B.     The Rent Claims Will Likely Be Subordinated ................................................................ 18
CONCLUSION ............................................................................................................................. 20




                                                                       i
18-13359-shl            Doc 698           Filed 03/01/19           Entered 03/01/19 16:55:22                         Main Document
                                                                 Pg 3 of 40


                                                 TABLE OF AUTHORITIES

Cases

Bala v. Kaler (In re Racing Servs.),
  340 B.R. 73 (BAP 8th Cir. 2006) ........................................................................................ 18, 19

Coöperatieve Rabobank U.A., N.Y. Branch, et al. v. Lindsey Rubin,
  Case No. 1:19-cv-20429 (S.D. Fla.) .............................................................................. 4 n. 3, 19

Dubai World Corp. v. Jaubert,
  Case. No. 09-14314-CIV, 2011 WL 579213 (S.D. Fla. Feb. 9, 2011) ............................ 15 n. 10

In re Goody’s Family Clothing, Inc.,
   392 B.R. 604 (Bankr. D. Del. 2008) ................................................................................... 17, 18

In re Joseph Spiess Co.,
   145 B.R. 597 (Bankr. N.D. Ill. 1992) ....................................................................................... 17

In re Microvideo Learning Sys., Inc.,
   232 B.R. 602 (Bankr. S.D.N.Y. 1999) ................................................................................ 16, 17

In re Racing Servs., Inc.,
   386 B.R. 751 (8th Cir. BAP 2008), aff'd, 571 F.3d 729 (8th Cir. 2009) .......................... 18 n. 12

Kolski ex rel Kolski v. Kolski,
  731 So. 2d 169 (Fla. 3d DCA 1999) ................................................................................ 15 n. 10

United States v. Bala,
  489 F.3d 334 (8th Cir. 2007) ............................................................................................ 18 n. 12

Statutes

11 U.S.C. § 1107 ............................................................................................................................. 2

11 U.S.C. § 1108 ............................................................................................................................. 2

11 U.S.C. § 365(d)(3) ......................................................................................................... 1, 16, 18

11 U.S.C. § 365(d)(4) ................................................................................................................... 18

11 U.S.C. § 503(b) ........................................................................................................................ 16

11 U.S.C. § 503(b)(1) ................................................................................................................... 17

11 U.S.C. § 510(c) .................................................................................................................... 2, 15

11 U.S.C. § 510(c)(1) .................................................................................................................... 18



                                                                            ii
18-13359-shl           Doc 698          Filed 03/01/19          Entered 03/01/19 16:55:22                      Main Document
                                                              Pg 4 of 40


Fla. Stat. § 689.01 ................................................................................................... 15 n. 9, 16 n. 11

Fla. Stat. § 725.01 ................................................................................................. 15 n. 10, 16 n. 11




                                                                        iii
18-13359-shl     Doc 698      Filed 03/01/19       Entered 03/01/19 16:55:22         Main Document
                                                 Pg 5 of 40


        Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers

Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”) hereby submit this objection (this “Objection”) to the Motion to Compel

Payment of Post-Petition Rent and Related Obligations Pursuant to 11 U.S.C. § 365(d)(3) (the

“Motion”)2 [Docket No. 553] filed by The Second Amended and Restated Rose Rubin

Revocable Trust u/d/a 9/25/2013, the Amended and Restated Richard Rubin Revocable Trust

u/d/a 12/8/2008, Republic Metals Warehouse, LLC, Richard Rubin Lindjay Investments, LLC,

Jason Ross Rubin Enterprises, LLC and RRLJ12, LLC (collectively, the “Lessors”), and in

support thereof respectfully state as follows:

                                 PRELIMINARY STATEMENT

        1.      The Motion is premature. The Lessors, all insiders and their affiliates, are the

subject of investigations by the Senior Lenders and the Official Committee of Unsecured

Creditors (the “Committee”) into possible fraud, breach of fiduciary duty, and fraudulent transfer

claims. The Senior Lenders and the Committee are also investigating whether the Lessors

purchased one or more of the Leased Premises at issue in the Motion with sums that constitute

fraudulent transfers. The Committee has been granted standing to bring such claims. See

Docket No. 696. The investigations are ongoing, but the facts already uncovered establish that

there are good grounds to assert the claims and that the claims, if proved, would constitute

offsets to the Lessors’ rent claims and would be a basis to subordinate their claims under


2
       All capitalized terms used but not defined in this Objection have the meaning ascribed to them in
the Motion.
18-13359-shl    Doc 698      Filed 03/01/19     Entered 03/01/19 16:55:22           Main Document
                                              Pg 6 of 40


Section 510(c). Adjudication of the rent claims should await the adjudication of the Senior

Lenders’ and the Committee’s claims against the Rubins. Should the Court choose to address the

Motion on its merits at this time, however, the Court should deny or defer the Motion:

       2.      First, the Leased Premises were acquired, at least in part, with funds from the

Debtors that were fraudulent transfers and should be offset against the rent sought by the

Lessors. This will require resolution of the estate’s claims against the Lessors.

       3.      Second, the Lessors’ claims for rent likely are likely to be equitably subordinated

to the claims of all other creditors on the basis of the Lessors’ inequitable conduct. Because the

investigations into that conduct are ongoing, resolution of the Motion should await their

completion.

                                        BACKGROUND

            The Chapter 11 Cases

       4.      Each of the Debtors filed a voluntary petition for relief under chapter 11 of the

United States Bankruptcy Code (the “Bankruptcy Code”) on November 2, 2018 (the “Petition

Date”) or November 21, 2018.

       5.      The Debtors are continuing to operate and manage their properties and assets as

debtors-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in the chapter 11 cases.

       6.      On November 19, 2018, the Office of the United States Trustee for the Southern

District of New York appointed the Official Committee of Unsecured Creditors in these cases

[Docket No. 113].




                                                     2
18-13359-shl     Doc 698     Filed 03/01/19     Entered 03/01/19 16:55:22         Main Document
                                              Pg 7 of 40


       7.       The factual background relating to the commencement of these cases is set forth

in detail in the Declaration of Scott Avila, as Chief Restructuring Officer, in Support of

Chapter 11 Petitions and First Day Motions (the “Avila Decl.”) [Docket No. 2].

             Republic and The Rubin Family

       8.       Prior to the Petition Date, Debtor Republic Metals Corporation (“Republic”) was

a precious metals refinery and mint located in south Florida. Republic was founded in 1980 by

Richard Rubin. The Rubin family, consisting of Richard Rubin, his widow, Rose Rubin, and his

children, Jason Rubin and Lindsey Rubin (collectively, the “Rubins”), have controlled Republic

and its affiliates since their inception. Declaration of Edward Kleinschmidt, dated

March 1, 2019 (the “Kleinschmidt Decl.”), ¶ 12, attached as Exhibit A.

       9.       Republic’s sole shareholder is the Amended and Restated Richard Rubin

Revocable Trust u/a/d 12/8/2008 (the “Rubin Trust”). Rose Rubin is the sole Trustee of the

Rubin Trust and is also its sole beneficiary. Id. ¶ 13.

       10.      Jason Rubin is currently President and Chief Executive Officer of Republic, a

position he assumed after the death of Richard Rubin on June 24, 2013. Lindsey Rubin is the

Corporate Secretary of Republic and previously served as Executive Director of Stone Removal

and Diamond Acquisitions. Rose Rubin and Lindsey Rubin were directors of Republic until

shortly after the filing of these cases. Jason Rubin remains on the board of directors. Id. ¶ 14.

       11.      In the years preceding these cases, the Rubins caused the Debtors to transfer

substantial sums to themselves through extravagant salaries, bonuses, and dividends to fund

lavish lifestyles, including luxury homes and automobiles, boats, travel, clothing, and

entertainment, and to fund the purchases of real property by the Rubins and their affiliates, at

least one of which is the subject of the Motion. Id. ¶ 31.




                                                      3
18-13359-shl                    Doc 698                 Filed 03/01/19                   Entered 03/01/19 16:55:22                                    Main Document
                                                                                       Pg 8 of 40


               12.            By way of example only, the following chart reflects more than $48 million of

salaries, bonuses and dividends that the Debtors paid to the Rubins since 2012:
Name/Position/Relationship                                   2012               2013               2014               2015              2016          2017          6 Year Total

Rubin, Jason R.                              Salary     $   376,601        $   583,551        $   458,655         $   450,000       $   450,000   $   450,000   $       2,768,807
Chief Executive Officer                      Bonus        1,405,784            948,073          1,378,317           2,590,267           368,858       546,322           7,237,621
Officer & Director                           Total      $ 1,782,385        $ 1,531,624        $ 1,836,972         $ 3,040,267       $   818,858   $   996,322   $      10,006,428

Rubin, Rose                                  Salary     $    12,000        $    17,267        $ 1,847,038         $ 2,523,494       $ 1,122,915   $ 1,111,200   $       6,633,914
Vice-President                              Bonus               -                2,585                -                   -                 -         200,000             202,585
                                         Dividends        9,208,815          1,908,096          7,649,249           2,045,265                       1,057,256          21,868,681
Officer & Director                           Total      $ 9,220,815        $ 1,927,948        $ 9,496,287         $ 4,568,759       $ 1,122,915   $ 2,368,456   $      28,705,180

Rubin, Lindsey                               Salary     $      57,300      $      86,962      $   101,924         $   140,000       $   140,000   $   140,000   $         666,186
Corporate Secretary                          Bonus             74,984            159,414        6,198,550           2,649,753            94,787       136,355           9,313,843
Officer                                      Total      $     132,284      $     246,376      $ 6,300,474         $ 2,789,753       $   234,787   $   276,355   $       9,980,029

Total Rubin Family                                      $ 11,135,484       $ 3,705,948        $ 17,633,733        $ 10,398,779      $ 2,176,560   $ 3,641,133   $      48,691,637


Notes
•       This schedule was prepared by RPA with information provided by Republic which has not been independently verified.
•       Republic has represented that dividend payments were made to Rose Rubin for the payment of Trust income tax liaibilities.
•       Dividend payments in 2012 and 2013 are listed under Rose Rubin for purposes of this schedule.
•       Dividends for 2012–2017 are the amounts reported in Republic’s annual financial statements.
•       Per discussion with Jason Rubin, Lindsey Rubin’s bonus in 2014 was used to purchase a personal residence.
•       Per discussion with Jason Rubin, Lindsey & Jason Rubin’s bonuses in 2015 were used to purchase 13001 NW 38th Ave.



               13.            This chart does not reflect off-balance sheet transfers that may have been made to

the Rubins, such as automobiles and boats purchased with company funds or corporate credit

cards used for personal purchases. Kleinschmidt Decl. ¶ 33.

               14.            At least one of these transfers, a “bonus” of $5,738,508 paid by Republic to

Lindsey Rubin on October 22, 2014, was used to purchase a personal residence, id. ¶ 34,

potentially subject to the Florida statutory homestead exemption from judgments.3

               15.            Upon information and belief, the Committee is investigating all salary, bonus,

dividend, and other transfers made to or for the benefit of the Rubins as part of the Committee’s

2004 examination.




3
         The Senior Lenders filed a complaint against Lindsey Rubin in the United States District Court
for the Southern District of Florida in order to preserve this claim for the benefit of the estates. See
Coöperatieve Rabobank U.A., N.Y. Branch, et al. v. Lindsey Rubin, Case No. 1:19-cv-20429 (S.D. Fla.
Feb. 1, 2019).



                                                                                                      4
18-13359-shl     Doc 698     Filed 03/01/19     Entered 03/01/19 16:55:22          Main Document
                                              Pg 9 of 40


             The Leased Premises

       16.      The Rubins used their salaries, bonuses and dividends as well as other “loans”

from the Debtors to personally acquire fee interests in the Leased Premises, which constitute

substantially all of the real properties that comprised the Debtors’ refining facility in southern

Florida. The Rubins then leased the properties back to the Debtors to enhance their personal

gains to the detriment of the Debtors.




                                                      5
18-13359-shl         Doc 698       Filed 03/01/19 Entered 03/01/19 16:55:22           Main Document
                                                 Pg 10 of 40


        17.      The following chart reflects the Leased Premises at issue, the purchase price for

each, and the source of funds used for acquisition based on the Senior Lenders’ knowledge and

the deeds produced in discovery on the Motion:

      Address               Use        Landlord Entity   Acquisition    Purchase       Source of Funds4
                                                            Date         Price
13000 NW 38th           Silver        Republic Metals    9/1/2009      $3,950,000   Loan from Republic5
Avenue, Opa Locka,      Refinery      Warehouse LLC
FL 33054
12900 NW 38th           Gold          Rubin Trust        4/2/1992      Unknown      Construction loan
Avenue, Opa Locka,      Refinery
FL 33054
13001 NW 38th           High-Tech     Richard Rubin      1/6/2015      $3,342,000   Bonuses received by
Avenue, Opa Locka,      Facility      Lindjay Invest                                Jason and Lindsey
FL 33054                              LLC                                           Rubin
3859 NW 125th           Storage       Jason Ross Rubin   5/1/2008      $370,000     Financing by Daniel
Street, Opa Locka,      Facility      Enterprises LLC                               Whitebook
FL 33054
3863 NW 125th           Storage       Jason Ross Rubin   4/29/2008     $370,000     Financing by Daniel
Street, Opa Locka,      Facility      Enterprises LLC                               Whitebook
FL 33054
5295 NW 163rd           Carbon        RRLJ12 LLC         9/27/2016     $1,920,000   Personal funds and
Street, Miami           Facility                                                    loans from Republic6
Gardens, FL 33014

        18.      Upon information and belief, the Rubins are the sole beneficial owners of each

landlord entity listed above.7




4
         The information in this column is derived in part from a narrative provided by counsel for the
Lessors and Rubins regarding the sources of funds used for the acquisitions. The Senior Lenders reserve
the right to supplement this Objection following receipt of any additional pertinent information.
5
       During the forbearance period, the Rubin Trusts satisfied the outstanding notes, and the resulting
funds were paid to the Senior Lenders to reduce the principal balance of their loans.
6
       These loans were also repaid during the forbearance period, with the proceeds going to the Senior
Lenders.
7
       Counsel for the Rubins stipulated that the landlords of the Leased Premises are all ultimately
owned by the Rubins (Feb. 14, 2019 Discovery Conference).



                                                         6
18-13359-shl       Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22           Main Document
                                             Pg 11 of 40


          19.    Upon information and belief, certain of the leased properties were acquired with

funds transferred to the Rubins by the Debtors at a time when the Debtors were insolvent. See

paragraphs 32–33 below regarding insolvency.

          20.    Four of the Leases – the Leases for 13000 NW 38th Avenue (the “Silver Refinery

Lease”), 12900 NW 38th Avenue (the “Gold Refinery Lease”), 13001 NW 38th Avenue (the

“High-Tech Lease”), and 5295 NW 163rd Street (the “Carbon Lease” and collectively with the

Silver Refinery Lease, the Gold Refinery Lease and the High-Tech Lease, the “Written Leases”)

– were executed by Jason Rubin, Rose Rubin, Jason Rubin, and Lindsey Rubin, respectively, on

behalf of the Lessors. Jason Rubin also executed all four of the Written Leases on behalf of the

Debtors, as Lessees. He signed as President of Republic for the Silver Refinery Lease and the

Gold Refinery Lease; as Member/Manager of Republic High Tech Metals, LLC for the High-

Tech Lease; and as Member of Republic Carbon Company, LLC for the Carbon Lease.

          21.    The Silver Refinery Lease and the Gold Refinery Lease are bare bones documents

providing for terms of five years beginning March 1, 2014, although the Silver Refinery Lease

was not executed until March 10, 2014.8 Both of those leases expired on February 28, 2019.

The High-Tech Lease and the Carbon Lease are for terms of 60 months, beginning

January 1, 2018, and May 1, 2017, respectively. Except for the terms relating to the specific

properties, the two documents are substantially similar and more fleshed out than the earlier

leases.

          22.    Two of the Leases – the Leases for 3863 NW 125th Street and 3859 NW 125th

Street (collectively, the “Oral Leases”) – are oral leases, and there is no evidence of their terms

other than the amounts of rent paid.


8
          The Gold Refinery Lease was executed on February 5, 2014.




                                                       7
18-13359-shl      Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22           Main Document
                                            Pg 12 of 40


        23.      As explained in paragraphs 37–38 below, there was also a Lease for 12800 NW

38th Avenue (the “Office and Mint Lease”), which terminated prepetition when ownership of the

underlying property was transferred to the Debtors pursuant to the Forbearance Agreement (as

defined below).

              The Senior Lenders’ Relationship with the Debtors

        24.      As of the Petition Date, the Senior Lenders were collectively owed (and continue

to be owed) over $177 million by the Debtors under certain credit agreements, master netting

agreements and lease agreements (collectively, the “Credit and Lease Agreements”). The

obligations under the Credit and Lease Agreements are secured by valid and perfected liens on

substantially all of the Debtors’ assets, including the Debtors’ inventory and the proceeds

thereof. Kleinschmidt Decl. ¶ 15.

        25.      With the exception of Mitsubishi and ICBCS, each of the Senior Lenders first

entered into Credit and Lease Agreements with the Debtors between January 2016 and October

2017. Mitsubishi and ICBCS first entered into Credit and Lease Agreements with Republic in

December 2008 and January 2011, respectively. Id. ¶ 16.

        26.      The Debtors made certain representations and warranties in the Credit and Lease

Agreements with respect to, among other things, the financial condition and solvency of the

Debtors, the accuracy of the financial statements provided to the Senior Lenders, the Debtors’

compliance with certain financial covenants and the absence of defaults. The Credit and Lease

Agreements were all executed by Jason Rubin, as President and Chief Executive Officer of the

Debtors, or David Comite, as Treasurer and Chief Financial Officer of the Debtors, or both. Id.

¶ 17.




                                                     8
18-13359-shl        Doc 698   Filed 03/01/19 Entered 03/01/19 16:55:22           Main Document
                                            Pg 13 of 40


       27.     Pursuant to the Credit and Lease Agreements, Republic was obligated to

periodically furnish the Senior Lenders with borrowing base reports (the “Borrowing Base

Reports”), which calculated the collateral borrowing base available to support Republic’s

existing extensions of credit and requests for additional extensions of credit under the Credit and

Lease Agreements. Each Borrowing Base Report was executed by David Comite and certified

both the accuracy of the information contained therein and the absence of any defaults under the

Credit and Lease Agreements. Id. ¶ 18.

       28.     In addition to the Borrowing Base Reports, Republic was also obligated to

provide the Senior Lenders with annual and quarterly financial statements pursuant to the Credit

and Lease Agreements. The annual financial statements through 2016 were audited by

independent outside accounting firms (most recently, Crowe Horwath LLP and EisnerAmper

LLP) and the quarterly financial statements were unaudited and delivered with an independent

accountants’ compilation report from Maria I. Machado, P.A. The 2017 audit report was never

issued. Id. ¶ 19.

       29.     In June 2018, the Senior Lenders were first advised by the Debtors of significant

discrepancies in the value of the Senior Lenders’ collateral as disclosed in the Borrowing Base

Reports. Specifically, the Borrowing Base Report delivered to the Senior Lenders on May 30,

2018 listed eligible inventory of $219,570,312.54 as of May 25, 2018 and a borrowing base

excess of $11,124,342.34. However, the subsequent Borrowing Base Report, delivered to the

Senior Lenders on June 20, 2018, listed eligible inventory of $144,157,698.29 as of June 8, 2018

and a borrowing base shortfall of $39,486,098.03 – a loss of over $75 million in asset value from

one Borrowing Base Report to the next – delivered only three weeks later. As a result of this




                                                     9
18-13359-shl    Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                           Pg 14 of 40


precipitous drop in collateral value, numerous defaults were triggered under the Credit and Lease

Agreements. Id. ¶ 20.

       30.     The draft financial statements delivered to the Senior Lenders in June 2018 for the

fiscal quarter ending March 31, 2018, further confirmed the apparent massive loss of collateral,

reflecting a decrease in inventory value from $252,322,502 as of March 31, 2017, to

$171,319,259 as of March 31, 2018, a drop of over $80 million. Id. ¶ 21.

       31.     The Debtors attribute the collateral disappearance to “a significant discrepancy in

[the Debtors’] inventory accounting.” See, e.g., Avila Decl. at ¶ 36. However, to date, no

satisfactory explanation has been provided for the inventory deficiency and loss of the Senior

Lenders’ collateral.

       32.     Based on the information provided after disclosure of the inventory shortfall, the

Senior Lenders believe that the Debtors were likely insolvent as early as 2012, that the Debtors

funded continued operating losses with substantial cash loans and precious metals leases from

the Senior Lenders, and that there appear to be substantial claims against the Debtors’ officers

and directors (including the Rubins) and auditors arising from and related to the foregoing.

Kleinschmidt Decl. ¶ 22.

       33.     Specifically, the Senior Lenders believe that the Debtors’ officers and directors

(including the Rubins) misstated inventory values to persuade the Senior Lenders to enter into

and remain in the Credit and Lease Agreements. One method of misstating Republic’s inventory

was assigning a significant, unsubstantiated value to barrels of “hydroxides,” which are

byproducts generated from the refining process that contain unknown amounts of precious metal.

Id. ¶ 23. Paladin Management Group, LLC, the Debtors’ financial advisor, has confirmed that




                                                    10
18-13359-shl     Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                           Pg 15 of 40


the hydroxide accounting misstatements resulted in an overstatement of inventory value that

supports the conclusion that the Debtors have been insolvent for many years.

       34.      On July 10, 2018, the Senior Lenders served termination, default and demand

notices on the Debtors that among other things, accelerated all debt obligations and terminated

and liquidated lease obligations under the Credit and Lease Agreements. Id. at ¶ 24.

             The Forbearance Agreement

       35.      Despite the existing events of default under the Credit and Lease Agreements,

continuing operational losses, and substantial deterioration in and depletion of the Senior

Lenders’ collateral, the Senior Lenders entered into a forbearance agreement (the “Forbearance

Agreement”) with the Debtors on August 7, 2018, and agreed to stand still from exercising their

rights and remedies. Id. at ¶ 25.

       36.      As part of the Forbearance Agreement, the Debtors agreed not to make rent or

lease payments to the Rubins under the Leases. Id. at ¶ 26.

       37.      The Forbearance Agreement also required that the Rubins convey 100% of the fee

interest in Republic’s office and mint (i.e., 12800 NW 38th Avenue) to Republic in exchange for

the satisfaction of certain notes payable to Republic issued in connection with the “loan” made

by Republic to the Rubins to acquire the property and that Republic simultaneously grant the

Senior Lenders a mortgage on the property. Through this mechanism, the Debtors were able to

recover title to Republic’s office and mint from the Rubins. Id. at ¶ 27.

       38.      Rose Rubin and Jason Rubin acknowledged and agreed to the terms of the

Forbearance Agreement and provided limited personal guarantees in connection with the

Agreement. Jason Rubin’s guaranty specifically prohibited him from, among other things,

taking any action, or causing any other person or entity to take any action, with the intent to




                                                     11
18-13359-shl     Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                            Pg 16 of 40


challenge, prevent, hinder, delay or otherwise frustrate the Senior Lenders or any action to be

taken in connection with, or in furtherance of, the Forbearance Agreement. Id. at ¶ 28.

       39.      The Forbearance Agreement expired pursuant to its terms prior to the Petition

Date. Id. at ¶ 29.

             The Cash Collateral Motion and Interim Cash Collateral Orders

       40.      To finance the Debtors’ chapter 11 cases, the wind down of their operations, and

the liquidation of their assets, the Debtors required the use of the Senior Lenders’ cash collateral.

The Senior Lenders worked with the Debtors to negotiate the terms of a consensual cash

collateral order prior to the Petition Date.

       41.      On the Petition Date, the Debtors filed the Motion For Entry of Interim and Final

Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to

the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief (the

“Initial Cash Collateral Motion”) [Docket No. 10].

       42.      On November 13, 2018, the Debtors and the Senior Lenders filed the Joint

Supplement of the Debtors and the Senior Lenders to the Cash Collateral Motion (together with

the Initial Cash Collateral Motion, the “Cash Collateral Motion”) [Docket No. 78].

       43.      The Court has entered five interim cash collateral orders [Docket Nos. 54, 277,

373, 538 and 675]. .

       44.      Pursuant to the interim cash collateral orders, among other things, the Senior

Lenders consented to the Debtors’ use of their cash collateral to fund the costs and expenses of

administering the chapter 11 cases, and the Senior Lenders were granted superpriority claims and

adequate protection liens on substantially all of the Debtors’ assets to protect against any

diminution in value of their collateral.




                                                     12
18-13359-shl     Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                            Pg 17 of 40


       45.      Consistent with their prepetition position, the Senior Lenders did not consent to

the payment of rent to the Rubins under the Leases and the Initial Cash Collateral Order did not

provide for such payment. The Rubins and Lessors objected to the Initial Cash Collateral Order

insofar as it did not provide for payment of rent to the Lessors or for compensation to the Rubins.

See Objection of Jason Rubin, Rose Rubin, Lindsey Rubin, the Second Amended and Restated

Rose Rubin Revocable Trust u/d/a 9/25/2013, the Amended and Restated Richard Rubin

Revocable Trust u/d/a/12/8/2008, Republic Metals Warehouse LLC, Richard Rubin Lindjay

Investments, LLC, Jason Ross Rubin Enterprises LLC, and RRLJ12 LLC to the Debtors’ Motion

for Entry of a Final Order (i) Authorizing the Debtors to Use Cash Collateral, (ii) Granting

Adequate Protection to the Secured Parties, (iii) Scheduling a Final Hearing and (iv) Granting

Related Relief (the “Rubin Cash Collateral Objection”) [Docket No. 199] ¶¶ 11–13.

       46.      The Rubin Cash Collateral Objection was resolved prior to the hearing on the

Initial Cash Collateral Order, and the parties agreed to defer the rent issue until the final cash

collateral hearing.

       47.      None of the subsequent interim cash collateral orders has provided for the

payment of rent to the Rubins. However, pursuant to an agreement among the parties, the fifth

interim Order includes a procedure pursuant to which all post-petition amounts allegedly due and

owing by the Debtors under the Leases will be transferred into a segregated debtor-in-possession

account pending further Court order. See Docket No. 675 at ¶ 7.

             The Asahi Sale and the Lease Rejections

       48.      On December 21, 2019, the Debtors filed a motion [Docket No. 358] seeking the

entry of an order establishing bid procedures to govern a sale process for substantially all of the

Debtors’ non-inventory assets.




                                                      13
18-13359-shl     Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                           Pg 18 of 40


       49.     Following a successful auction, the Court approved a sale (the “Sale”) to Asahi

Refining Florida Inc. (“Asahi”) pursuant to an order entered on February 21, 2019 (the “Sale

Order”) [Docket No. 658].

       50.     Pursuant to the Sale, Asahi is acquiring the Debtors’ interest in Republic’s gold

refinery (12900 N.W. 38th Avenue), silver refinery (13000 N.W. 38th Avenue) and carbon

facility (5295 N.W. 163 Street). The Rubins have agreed to enter into new market-rate leases

with Asahi for each of those properties at the closing of the Sale.

       51.     In conjunction with the Sale, the Debtors filed a motion [Docket No. 541] to

reject the existing Leases for these properties effective as of February 28, 2019, or such other

date as the Debtors close the Sale. The Court approved the motion on the record at a hearing

held on February 21, 2019.

       52.     As a result, the Rubins will receive rent payments for these properties from Asahi

immediately upon the closing of the Sale. The Sale is expected to close during the week of

March 4, 2019, if not earlier.

                                          ARGUMENT

       53.     The Motion should be denied for two reasons. First, because the Lessors are

insiders who purchased at least one of the Leased Premises with inflated and unwarranted

bonuses – and because the Lessors acquired all of the Leased Premises to the insiders’ benefit

and at significant cost to the Debtors, who could have owned them outright – the estate has

offsetting fraudulent transfer claims, and resolution of the Motion should be deferred until after

adjudication of those claims. Second, because there is evidence that the insiders engaged in

wide-scale fraud and inequitable behavior, the Senior Lenders (and, we believe, the Committee)

will be seeking to subordinate the rent claims to the claims of all other creditors pursuant to




                                                     14
18-13359-shl      Doc 698       Filed 03/01/19 Entered 03/01/19 16:55:22                    Main Document
                                              Pg 19 of 40


Section 510(c) of the Bankruptcy Code, and a ruling on subordination should likewise be

deferred until there has been full discovery relating to this Motion and the Committee has

completed its comprehensive investigation. Indeed, the Senior Lenders’ and Committee’s

claims, as well as the Rubins’ claim for rent, are most appropriately dealt with as part of the plan

process.

        54.     All of the leases are on their faces insider agreements, with the same parties (or

their affiliates) on both sides of the transactions. There is no evidence that the leases were

negotiated at arms-length – indeed, the logical inference from the fact that all signatories are

Rubin family members is that they were not. There is no evidence that any independent party

(witness or otherwise) was involved in their negotiation or execution.9 For the Oral Leases, there

is no evidence of the terms beyond the rent that has been paid.10 There is no explanation for the


9
      All four of the Written Leases lack the signatures of the two witnesses required by statute. See
2018 XL Fla. Stat. § 689.01 which provides, in part:

        No estate or interest of freehold, or for a term of more than 1 year, or any uncertain interest of, in
        or out of any messuages, lands, tenements or hereditaments shall be created, made, granted,
        transferred or released in any other manner than by instrument in writing, signed in the presence
        of two subscribing witnesses by the party creating, making, granting, conveying, transferring or
        releasing such estate, interest, or term of more than 1 year . . . ; and no estate or interest, either of
        freehold, or of term of more than 1 year, or any uncertain interest of, in, to, or out of any
        messuages, lands, tenements or hereditaments, shall be assigned or surrendered unless it be by
        instrument signed in the presence of two subscribing witnesses by the party so assigning or
        surrendering . . . .

Two of the Written Leases provided signature lines for the two statutorily required attesting witnesses, but
in both documents someone crossed out those signature lines, which are blank, suggesting that the parties
to those Leases were on notice that witness signatures were required but chose not to obtain them.
Discovery will reveal why.
10
         The Oral Leases, which we believe have been in effect since 2008 when Jason Ross Rubin
Enterprises LLC purchased the properties, also violate the Florida Statute of Frauds, 2018 XLI Fla. Stat.
§ 725.01. As a result, the Oral Leases are unenforceable without additional evidencing documentation.
See, e.g., Dubai World Corp. v. Jaubert, Case. No. 09-14314-CIV, 2011 WL 579213, at *11–12 (S.D. Fla.
Feb. 9, 2011) (citing Kolski ex rel Kolski v. Kolski, 731 So. 2d 169, 171 (Fla. 3d DCA 1999)). In Dubai
World, the court held that signed emails satisfied the statute of frauds, and allowed a counterclaim for a
percentage of profits as evidenced in an email to proceed to trial. However, the court granted summary
judgment to the plaintiff on all other counterclaims for fraud where there were no writings reflecting



                                                           15
18-13359-shl      Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22               Main Document
                                             Pg 20 of 40


fact that insiders purchased the Leased Premises, to their benefit and at significant cost to the

Debtors, instead of the Debtors simply acquiring the properties and using them rent-free.

Answers are especially needed for those properties purchased with the excessive salaries and

bonuses paid by Republic to the Rubins, but are needed for all the Leased Premises if the

Debtors could have owned them outright. The Senior Lenders do not challenge the right of a

closely-held corporation or even a family-owned business to rent properties from insiders, but

the lease agreements, sources of acquisition funds, and related transactions should be carefully

scrutinized before claims for rent are allowed given the facts and circumstances of these

chapter 11 cases.11

        The Court Should Defer a Decision on the Motion Until All
        of the Estate’s Claims are Adjudicated

        55.     The Lessors are correct that Section 365(d)(3) was enacted to protect landlords

during the period between a chapter 11 filing and the date when a debtor chooses to assume or

reject a lease. Motion ¶ 16 (quoting In re Microvideo Learning Systems, Inc., 232 B.R. 602, 604

(Bankr. S.D.N.Y. 1999) (internal citations omitted)). As that court noted, prior to the enactment

of Section 365(d)(3) debtors commonly did not pay post-petition rent until they had decided to

accept or reject a lease, and then only the portion the court would determine was of benefit to the

estate under Section 503(b). Id. 607–08.



alleged agreements relating to employment and profit-sharing but only allegations of oral promises made
in meetings. Id.
11
        While the Lessors’ failure to comply with Sections 689.01 and 725.01 and follow formalities
might not in and of themselves render the Leases unenforceable, it is highly irregular and yet another
“badge of fraud” that supports a finding that the Lessors and the Rubins engaged in inequitable conduct.
And should the Lessors argue that they nevertheless are owed back rent on a quantum meruit or unjust
enrichment basis, we submit that they are equitably estopped from raising such a claim on the basis of the
underlying wrongdoing we allege in both the purchase and leaseback of the Leased Premises (as potential
fraudulent transfers to the Rubins and their affiliates) and the underlying accounting and inventory
misstatements that the creditors have discovered.



                                                        16
18-13359-shl      Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                            Pg 21 of 40


         56.    However, Section 365(d)(3) does not exempt rent payments from offsets or

subordination, nor does it create a “superpriority administrative claim” for unpaid rent, despite

the statute’s direction that a “trustee shall timely perform all the obligations of the debtor”

arising from a nonresidential lease. Id. at 609 (such an interpretation “stretches the statute

beyond its limits.”) (citing In re Joseph Spiess Co., 145 B.R. 597, 608 (Bankr. N.D. Ill. 1992)).

The Lessors concede that “administrative expenses ordinarily do not have to be paid until the end

of the case,” but argue that they are entitled to payment of rent now because deferral would be

inconsistent with the purpose of Section 365(d)(3), “particularly if there is an administrative

insolvency, which is not beyond the realm of possibility in this case.” Motion ¶ 20. But in In re

Microvideo Learning Systems, the debtor was administratively insolvent, and the court declined

to order the debtor to pay rent at the time of the motion because doing so “would effectively give

the landlord a super-priority over the other administrative expense creditors.” 232 B.R. at 609.

In any event, there is no evidence of administrative insolvency here.

         57.    Nor does the mere fact that the Debtors used and occupied the Leased Premises

automatically entitle the Lessors to payment of rent at this time. Motion ¶ 18. As one court

noted:

         The determination of the timing of payment of administrative expenses is a matter within
         the discretion of the bankruptcy court. In making this determination, one of the chief
         factors courts consider is bankruptcy’s goal of an orderly and equal distribution among
         creditors and the need to prevent a race to the debtor’s assets. Thus, distributions prior to
         confirmation of a plan are usually disallowed when the estate may not be able to pay all
         administrative expenses in full.

In re Goody’s Family Clothing, Inc., 392 B.R. 604, 614 (Bankr. D. Del. 2008). There the court

found that the fact that the debtors were occupying the landlords’ premises was sufficient to

support a claim for rent as an “actual, necessary expense” under Section 503(b)(1), but declined

to order immediate payment because there was minimal risk of administrative insolvency, a plan




                                                      17
18-13359-shl        Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22              Main Document
                                              Pg 22 of 40


of reorganization was expected to be confirmed soon, and there was no evidence of potential

harm to the landlords from an ongoing delay in rent payments. Id. at 614–17.

          58.      Rent payments under Section 365(d)(3) are not automatic, and this Court has the

discretion to delay the adjudication and possible award of such payments. Because the estate has

potential offsetting fraudulent transfer claims, and because awarding Lessors the rent they seek at

this time would in essence give them a “superpriority administrative claim,” the Court should

defer a decision on the Motion until after adjudication of all of the estate’s claims.

                The Rent Claims Will Likely Be Subordinated

          59.      Just as Section 365(d)(3) does not give landlords priority over other

administrative claims, it does not immunize them from equitable subordination under Section

510(c); it should not be used to give insiders against whom the estate has fraudulent transfer

claims, as well as other possible claims of fraud or breach of fiduciary duty arising out of

accounting irregularities, an advantage over all other creditors. Thus, in Bala v. Kaler (In re

Racing Servs.), 340 B.R. 73 (BAP 8th Cir. 2006), the Bankruptcy Appellate Panel upheld the

bankruptcy court’s equitable subordination of an administrative claim for rent under

Section 365(d)(3). Id. at 74–75. The landlord there had been the founder and sole owner of the

debtor-lessee and had been convicted of money laundering and illegal gambling in connection

with the debtor’s operations. Id. at 75. The Bankruptcy Appellate Panel found that “equitable

subordination of an administrative expense claim for rent is not inconsistent with Section

365(d)(3) and (4) of the Bankruptcy Code” and is in fact “expressly authorized in Section

510(c)(1).” Id. at 78.12


12
         The Eighth Circuit subsequently overturned the convictions. United States v. Bala, 489 F.3d 334
     th
(8 Cir. 2007). The bankruptcy court then vacated the subordination order because the criminal
conviction had been “critical” to its decision, and the BAP affirmed. In re Racing Servs., Inc., 386 B.R.
751 (8th Cir. BAP 2008), aff’d, 571 F.3d 729 (8th Cir. 2009).



                                                       18
18-13359-shl     Doc 698       Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                             Pg 23 of 40


       60.     The Bankruptcy Appellate Panel applied a three-part test for determining whether

a bankruptcy court should subordinate an administrative expense claim: “(1) the claimant must

have engaged in some type of inequitable conduct; (2) the claimant’s misconduct resulted in

injury to the creditors of the bankrupt or conferred a unfair advantage on the claimant; and

(3) equitable subordination must not be inconsistent with the provisions of the Bankruptcy

Code.” Id. at 76. Moreover, the “inequitable conduct need not be related to the claim to support

equitable distribution.” Id.

       61.     Here the Senior Lenders have presented credible evidence of inequitable conduct

– specifically, fraudulent transfers to the Rubins and their affiliates as well as fraud and breach of

fiduciary duty by the Rubins and others relating to the accounting irregularities – that show that

the estate has substantial claims against the Rubins. Based on the information obtained to date, it

appears that one or more transactions involving the purchases and lease-backs of the Leased

Premises involved fraudulent transfers. There are similar transactions involving other real

property, including Lindsey Rubin’s purchase of a personal residence with an inflated and

unjustified “bonus” from Republic. See Coöperatieve Rabobank U.A., New York Branch, et al.

v. Lindsey Rubin, Case No. 1:19-cv-20429 (S.D. Fla.) (challenging inflated bonus used to

purchase personal residence). In addition, one or more of the Rubins appears to have been

involved in the accounting irregularities; those accounting irregularities masked the fact that

Republic likely has been insolvent for years.

       62.     The Senior Lenders believe that discovery relating to this motion will uncover

additional evidence of inequitable conduct and corroborate the information discovered so far.

This Court has the discretion to order such discovery and to direct that it be conducted in

coordination with the comprehensive investigation currently being undertaken by the Committee.




                                                     19
18-13359-shl      Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22          Main Document
                                             Pg 24 of 40


        63.     Deferring a ruling on the Motion will result in no prejudice to the Rubins or the

Lessors. Debtors have deposited and will continue to deposit rents on the Leased Premises into a

segregated account. The Lessors have not received rent payments since the summer of 2018;

there is no evidence that an additional delay of a few months would cause any significant harm,

particularly given the substantial sums they have taken out of the Debtors in the years preceding

the bankruptcy.

                                         CONCLUSION

        WHEREFORE, for the reasons set forth herein, the Senior Lenders respectfully request

that the Court (i) deny the Motion or defer decision on the Motion until the completion of full

discovery and the Committee’s completion of its investigation; and (ii) grant such other and

further relief as is just and proper.

        Dated: New York, New York                          Respectfully submitted,
               March 1, 2019
                                                           LUSKIN, STERN & EISLER LLP
                                                           /s/    Michael Luskin
                                                           Michael Luskin
                                                           Lucia Chapman
                                                           Alex Talesnick
                                                           Eleven Times Square
                                                           New York, New York 10036
                                                           Telephone: (212) 597-8200
                                                           Facsimile: (212) 974-3205
                                                           E-Mail: luskin@lsellp.com
                                                           E-Mail: stern@lsellp.com
                                                           E-Mail: chapman@lsellp.com

                                                           Counsel for the Senior Lenders




                                                    20
18-13359-shl   Doc 698   Filed 03/01/19 Entered 03/01/19 16:55:22   Main Document
                                       Pg 25 of 40


                                     EXHIBIT A
18-13359-shl      Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22 Main Document
                                             Pg Date
                                        Hearing 26 ofand
                                                      40Time: March 18, 2019 at 11:00 a.m. (EST)
                                                Objection Deadline: March 1, 2019 at 5:00 p.m. (EST)
                                                 Reply Deadline: March 14, 2019 at 12:00 p.m. (EST)

Michael Luskin
Lucia Chapman
Alex Talesnick
LUSKIN, STERN & EISLER LLP
Eleven Times Square
New York, New York 10036
Tel.: (212) 597-8200
Fax: (212) 974-3205

Counsel for the Senior Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               )         Chapter 11
                                                     )
REPUBLIC METALS REFINING                             )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                )
                                                     )         (Jointly Administered)
                            Debtors.                 )
                                                     )         Related Doc. No. 553

           DECLARATION OF EDWARD KLEINSCHMIDT IN SUPPORT OF
                    OBJECTION OF THE SENIOR LENDERS
           TO MOTION TO COMPEL PAYMENT OF POST-PETITION RENT
          AND RELATED OBLIGATIONS PURSUANT TO 11 U.S.C. § 365(d)(3)




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206
and 209, New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami,
FL 33054 (4378), Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL
33014 (5833), Republic High Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102),
RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th Avenue, Miami, FL 33054
(7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic Metals Trading
(Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639) and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
18-13359-shl       Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22                Main Document
                                              Pg 27 of 40


          I, Edward Kleinschmidt, pursuant to 28 U.S.C. § 1746, hereby declare that the following

is true to the best of my knowledge and belief:

          1.      I am a Member of RPA Advisors, LLC (“RPA”), financial advisors to

Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers Harriman &

Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International Corporation

(“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”). I submit ths Declaration in support of the Senior Lenders’ Objection to the

Motion to Compel Payment of Post-Petition Rent and Related Obligations Pursuant to 11 U.S.C.

§ 365(d)(3) (the “Motion”)2 [Docket No. 553] filed by The Second Amended and Restated Rose

Rubin Revocable Trust u/d/a 9/25/2013, the Amended and Restated Richard Rubin Revocable

Trust u/d/a 12/8/2008, Republic Metals Warehouse, LLC, Richard Rubin Lindjay Investments,

LLC, Jason Ross Rubin Enterprises, LLC and RRLJ12, LLC (collectively, the “Lessors”)..

          2.      I am one of a team of four professionals at RPA who were tasked with, among

other things, investigating a significant inventory and accounting discrepancy reported by the

Debtors to the Senior Lenders in June 2018 and assisting the Senior Lenders in their

investigation and understanding of the Debtors’ financial affairs generally.

          3.      I make all statements based upon my own personal knowledge, information, and

belief, or upon my team’s review of the Debtors’ books and records or the other materials that

RPA has obtained since we were retained, including, without limitation, accounting and other



2
          All capitalized terms used but not defined herein have the meaning ascribed to such terms in the
Motion.


                                                      2
18-13359-shl     Doc 698         Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                               Pg 28 of 40


documents, emails, and interviews.3 If called upon, I would testify competently as to the matters

set forth in this Declaration.

                            DETAILS OF RPA’S INVESTIGATION

        4.      The Senior Lenders retained RPA as of July 13, 2018 to investigate inventory

discrepancies and to perform other financial analysis relating to the business of the Debtors.

Together with John Policano,Tony Pacelli, and Kieran Keaveney, we familiarized ourselved with

the Debtors and the facts relevant to these chapter 11 cases.

        5.      In the course of our investigation to date, we have interviewed or met with over

15 individuals with knowledge of the Debtors’ operations. Those individuals include Jason

Rubin, David Comite (the Debtors’ Chief Financial Officer), Alan Silverstein (General Counsel),

Lindsey Rubin, Rafael Carbonell (Chief Operating Officer), Zach Shair (SVP Refinery

Operations), Scott Avila (Chief Restucturing Officer), and the Paladin Management LLC

(Debtors’ Advisors) team.

        6.      The RPA team has reviewed a significant number of documents, including

financial statements, the Debtors’ books and records, leases for the real property at issue in the

Motion, the Debtors’ schedule of salaries and bonuses, Republic’s tax returns, various Forms

W-2, and customer contracts.

        7.      The RPA team visited several of the Debtors’ physical locations, including the

gold refinery and headquarters, the silver refinery, the carbon facility, the high-tech warehouse,

and a third-party warehouse where many of the “hydroxides” discussed in paragraph 23 below

are stored. The properties are identified in greater detail in the chart in paragraph 37 below.




3
        We have not been provided with all of the Debtors’ books and records, and did not conduct a full
forensic investigation of the Debtors’ financial affairs.


                                                   3
18-13359-shl      Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                             Pg 29 of 40


                              BACKGROUND AND EXPERIENCE

        8.      I have advised debtors and lender groups in distressed situations and bankruptcy

matters for twenty years. I have been a Member of RPA for eight years, focusing on advising

lenders and stakeholders of distressed companies. Prior to that, I was a member of Capstone

Advisory Group, a Senior Managing Director with FTI Consulting, a consultant with Policano

and Manzo, a chief financial officer and controller in private industry, and an audit manager with

Ernst & Young LLP.

        9.      I have served as a chief executive officer, chief financial officer, controller, or

member of the board of directors of more than a dozen companies in various industries,

including telecommunications, senior and assisted living, energy, automotive, real estate, and

manufacturing. I have also advised over 100 companies in those and other sectors.

        10.     My resume is attached as Exhibit A.

                                    FACTUAL BACKGROUND

        11.     I am familiar with the events leading up to these chapter 11 cases and with

Debtors’ post-petition business, including facts relevant to the financing provided by the Senior

Lenders to the Debtors.

        A.      Republic and The Rubin Family

        12.     Prior to the Petition Date, Debtor Republic Metals Corporation (“Republic”) was

a precious metals refinery and mint located in south Florida. Republic was founded in 1980 by

Richard Rubin. The Rubin family, consisting of Richard Rubin, his widow, Rose Rubin, and his

children, Jason Rubin and Lindsey Rubin (collectively, the “Rubins”), have controlled Republic

and its affiliates since their inception.




                                                   4
18-13359-shl     Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                           Pg 30 of 40


       13.     Republic’s sole shareholder is the Amended and Restated Richard Rubin

Revocable Trust u/a/d 12/8/2008 (the “Rubin Trust”). Rose Rubin is the sole Trustee of the

Rubin Trust and is also its sole beneficiary.

       14.     Jason Rubin is currently President and Chief Executive Officer of Republic, a

position he assumed after the death of Richard Rubin on June 24, 2013. Lindsey Rubin is the

Corporate Secretary of Republic and previously served as Executive Director of Stone Removal

and Diamond Acquisitions. Rose Rubin and Lindsey Rubin were directors of Republic until

shortly after the filing of these cases. Jason Rubin remains on the board of directors.

       B.      The Senior Lenders’ Relationship with the Debtors

       15.     As of the Petition Date, the Senior Lenders were collectively owed (and continue

to be owed) over $177 million by the Debtors under certain credit agreements, master netting

agreements and lease agreements (collectively, the “Credit and Lease Agreements”). The

obligations under the Credit and Lease Agreements are secured by valid and perfected liens on

substantially all of the Debtors’ assets, including the Debtors’ inventory and the proceeds

thereof.

       16.     With the exception of Mitsubishi and ICBCS, each of the Senior Lenders first

entered into Credit and Lease Agreements with the Debtors between January 2016 and

October 2017. Mitsubishi and ICBCS first entered into Credit and Lease Agreements with

Republic in December 2008 and January 2011, respectively.

       17.     The Debtors made certain representations and warranties in the Credit and Lease

Agreements with respect to, among other things, the financial condition and solvency of the

Debtors, the accuracy of the financial statements provided to the Senior Lenders, the Debtors’

compliance with certain financial covenants, and the absence of defaults. The Credit and Lease




                                                 5
18-13359-shl     Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                           Pg 31 of 40


Agreements were all executed by Jason Rubin, as President and Chief Executive Officer of the

Debtors, or David Comite, as Treasurer and Chief Financial Officer of the Debtors, or both.

          18.   Pursuant to the Credit and Lease Agreements, Republic was obligated to

periodically furnish the Senior Lenders with borrowing base reports (the “Borrowing Base

Reports”), which calculated the collateral borrowing base available to support Republic’s

existing extensions of credit and requests for additional extensions of credit under the Credit and

Lease Agreements. Each Borrowing Base Report was executed by David Comite and certified

both the accuracy of the information contained therein and the absence of any defaults under the

Credit and Lease Agreements.

          19.   In addition to the Borrowing Base Reports, Republic was also obligated to

provide the Senior Lenders with annual and quarterly financial statements pursuant to the Credit

and Lease Agreements. The annual financial statements through 2016 were audited by

independent outside accounting firms (most recently, Crowe Horwath LLP and EisnerAmper

LLP) and the quarterly financial statements were unaudited and delivered with an independent

accountants’ compilation report from Maria I. Machado, P.A. The 2017 audit report was never

issued.

          20.   In June 2018, the Senior Lenders were first advised by the Debtors of significant

discrepancies in the value of the Senior Lenders’ collateral as compared to the previously

submitted Borrowing Base Reports. Specifically, the Borrowing Base Report delivered to the

Senior Lenders on May 30, 2018 listed eligible inventory of $219,570,312.54 as of May 25, 2018

and a borrowing base excess of $11,124,342.34. However, the subsequent Borrowing Base

Report, delivered to the Senior Lenders on June 20, 2018, listed eligible inventory of

$144,157,698.29 as of June 8, 2018 and a borrowing base shortfall of $39,486,098.03 – a loss of




                                                 6
18-13359-shl     Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22               Main Document
                                            Pg 32 of 40


over $75 million in asset value from one Borrowing Base Report to the next – delivered only

three weeks later.4 As a result of this precipitous drop in collateral value, numerous defaults

were triggered under the Credit and Lease Agreements.

        21.     The draft financial statements delivered to the Senior Lenders in June 2018 for the

fiscal quarter ending March 31, 2018, further confirmed the apparent massive loss of collateral,

reflecting a decrease in inventory value from $252,322,502 as of March 31, 2017, to

$171,319,259 as of March 31, 2018, a drop of over $80 million.

        22.     Based on the information provided after disclosure of the inventory shortfall, I

believe that the Debtors were likely insolvent as early as 2012, that the Debtors funded continued

operating losses with substantial cash loans and precious metals leases from the Senior Lenders.

and that there are substantial claims against the Debtors’ officers and directors (including the

Rubins) and auditors arising from and related to the foregoing.

        23.     Specifically, I believe that the Debtors’ officers and directors (including the

Rubins) misstated inventory values. One method of misstating Republic’s inventory was

assigning a significant, unsubstantiated value to barrels of “hydroxides,” which are byproducts

generated from the refining process that contain unknown amounts of precious metal. Paladin

Management Group, LLC, the Debtors’ financial advisor, has confirmed that the hydroxide

accounting misstatements resulted in an overstatement of inventory value.

        24.     On July 10, 2018, the Senior Lenders served termination, default and demand

notices on the Debtors that among other things, accelerated all debt obligations and terminated

and liquidated lease obligations under the Credit and Lease Agreements.




4
        The values ascribed to the inventory are derived from two separate accounts in the Debtors’
financial statements.


                                                    7
18-13359-shl     Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22             Main Document
                                           Pg 33 of 40


        C.     The Forbearance Agreement

        25.    Despite the existing events of default under the Credit and Lease Agreements,

continuing operational losses, and substantial deterioration in and depletion of the Senior

Lenders’ collateral, the Senior Lenders entered into a forbearance agreement (the “Forbearance

Agreement”) with the Debtors on August 7, 2018, and agreed to stand still from exercising their

rights and remedies.

        26.    As part of the Forbearance Agreement, the Debtors agreed not to make rent or

lease payments to the Rubins under the Leases.

        27.    The Forbearance Agreement also required that the Rubins convey 100% of the fee

interest in Republic’s office and mint (i.e., 12800 NW 38th Avenue) to Republic in exchange for

the satisfaction of certain notes payable to Republic issued in connection with the “loan” made

by Republic to the Rubins to acquire the property and that Republic simultaneously grant the

Senior Lenders a mortgage on the property. Through this mechanism, the Debtors were able to

recover title to Republic’s office and mint from the Rubins.

        28.    Rose Rubin and Jason Rubin acknowledged and agreed to the terms of the

Forbearance Agreement and provided limited personal guarantees in connection with the

Agreement. Jason Rubin’s guaranty specifically prohibited him from, among other things,

taking any action, or causing any other person or entity to take any action, with the intent to

challenge, prevent, hinder, delay or otherwise frustrate the Senior Lenders or any action to be

taken in connection with, or in furtherance of, the Forbearance Agreement.

        29.    The Forbearance Agreement expired pursuant to its terms prior to the Petition

Date.




                                                 8
18-13359-shl                    Doc 698                 Filed 03/01/19 Entered 03/01/19 16:55:22                                                      Main Document
                                                                      Pg 34 of 40


                                                                               CONCLUSIONS

               30.            Republic’s officers and directors misstated inventory values resulting in

overstating the Debtors’ profitability and value. One method of misstating Republic’s inventory

was assigning a significant, wholly unsubstantiated dollar value to barrels of “hydroxides,”

which are byproducts generated from refining and line clean-ups that contain unknown amounts

of precious metal.

               31.            In the years preceding these cases, the Rubins caused the Debtors to transfer

substantial sums to themselves through extravagant salaries, bonuses, and dividends to fund

lavish lifestyles, including luxury homes and automobiles, boats, travel, clothing, and

entertainment, and to fund the purchases of real property by the Rubins and their affiliates, at

least one of which is the subject of the Motion.

               32.            By way of example only, the following chart reflects more than $48 million of

salaries, bonuses, and dividends that the Debtors paid to the Rubins since 2012:

Name/Position/Relationship                                   2012               2013               2014                2015             2016          2017          6 Year Total

Rubin, Jason R.                              Salary     $   376,601        $   583,551        $    458,655        $   450,000       $   450,000   $   450,000   $       2,768,807
Chief Executive Officer                      Bonus        1,405,784            948,073           1,378,317          2,590,267           368,858       546,322           7,237,621
Officer & Director                           Total      $ 1,782,385        $ 1,531,624         $ 1,836,972        $ 3,040,267       $   818,858   $   996,322   $      10,006,428

Rubin, Rose                                  Salary     $    12,000        $    17,267        $ 1,847,038         $ 2,523,494       $ 1,122,915   $ 1,111,200   $       6,633,914
Vice-President                              Bonus               -                2,585                -                   -                 -         200,000             202,585
                                         Dividends        9,208,815          1,908,096          7,649,249           2,045,265                       1,057,256          21,868,681
Officer & Director                           Total      $ 9,220,815        $ 1,927,948        $ 9,496,287         $ 4,568,759       $ 1,122,915   $ 2,368,456   $      28,705,180

Rubin, Lindsey                               Salary     $      57,300      $      86,962      $    101,924        $   140,000       $   140,000   $   140,000   $         666,186
Corporate Secretary                          Bonus             74,984            159,414         6,198,550          2,649,753            94,787       136,355           9,313,843
Officer                                      Total      $     132,284      $     246,376       $ 6,300,474        $ 2,789,753       $   234,787   $   276,355   $       9,980,029

Total Rubin Family                                      $ 11,135,484       $ 3,705,948         $ 17,633,733       $ 10,398,779      $ 2,176,560   $ 3,641,133   $      48,691,637

Notes
       This schedule was prepared by RPA with information provided by Republic which has not been independently verified.
       Republic has represented that dividend payments were made to Rose Rubin for the payment of Trust income tax liaibilities.
       Dividend payments in 2012 and 2013 are listed under Rose Rubin for purposes of this schedule.
       Dividends for 2012–2017 are the amounts reported in Republic’s annual financial statements.
       Per discussion with Jason Rubin, Lindsey Rubin’s bonus in 2014 was used to purchase a personal residence.
       Per discussion with Jason Rubin, Lindsey & Jason Rubin’s bonuses in 2015 were used to purchase 13001 NW 38th Ave.



               33.            This chart, which was derived from information contained in Forms W-2 and

other information provided by the Debtors, does not reflect off-balance sheet transfers that may




                                                                                               9
18-13359-shl    Doc 698     Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                          Pg 35 of 40


have been made to the Rubins, such as automobiles and boats purchased with company funds or

corporate credit cards used for personal purchases.

       34.     At least one of these transfers, a “bonus” of $5,738,508 paid by Republic to

Lindsey Rubin on October 22, 2014, was used to purchase a personal residence.

       35.     At least two of those transfers, “bonuses” totalling approximately $5.0 million

paid by Republic to both Lindsey and Jason Rubin in 2015 (approximately $2.5 million to each),

were used to purchase the high tech warehouse (13001 NW 38th Ave.), and the property was

then leased back to Republic.

       36.     Those payments were made at a time when Republic likely was insolvent.




                                               10
18-13359-shl       Doc 698      Filed 03/01/19 Entered 03/01/19 16:55:22                Main Document
                                              Pg 36 of 40


          37.     RPA is familiar with the properties relevant to the Motion (the Leased Premises),

 including the leases, premises, rent, owners, purchase price, and use. The following chart

 accurately describes the information RPA has obtained and the analysis RPA conducted with

 respect to each of the properties:


                                            Real Properties

                                                               Date of      Purchase        Purchase
    Lease           Property Address         Owner
                                                              Purchase       Funds             Cost
Silver Refinery   1300 NW 38th Ave.    Republic Metals       9/1/2009    Loan from         $3,950,000
Lease             Opa Locka, FL        Warehouse LLC                     Republic
Gold Refinery     12900 NW 38th Ave.   Richard Rubin         4/2/1992    Construction      Built by
Lease             Opa Locka, FL        Trust & Rose Rubin                loan              Republic
                                       Trust
High Tech         13001 NW 38th Ave.   Richard Rubin         1/6/2015    Bonuses from      $3,342,000
Equipment         Opa Locka, FL        Lindjay Investment                Republic to
Storage Lease                          LLC                               Jason &
                                                                         Lindsey Rubin
Carbon Lease      5295 NW 163rd St.    RRLJ12 LLC            9/27/2016   Personal funds    $1,920,000
                  Miami Gardens, FL                                      and loans from
                                                                         Republic
Warehouse         3863 NW 125th St.    Jason Ross Rubin      4/29/2008   Financing by       $ 370,000
3863 Lease        Opa Locka, FL        Enterprises LLC                   Daniel
                                                                         Whitebook
Warehouse 3859    3859 NW 125th St.    Jason Ross Rubin      5/1/2008    Financing by       $ 370,000
Lease             Opa Locka, FL        Enterprises LLC                   Daniel
                                                                         Whitebook



          I hereby declare under penalty of perjury under the laws of the United States of America

 that, to the best of my knowledge and after reasonable inquiry, the foregoing is true and correct.

          Executed this 1st day of March 2019 in Bergen County, New Jersey.

                                                          /s/ Edward Kleinschmidt
                                                          Edward Kleinschmidt




                                                   11
18-13359-shl   Doc 698   Filed 03/01/19 Entered 03/01/19 16:55:22   Main Document
                                       Pg 37 of 40


                                     EXHIBIT A
    18-13359-shl     Doc 698       Filed 03/01/19 Entered 03/01/19 16:55:22              Main Document
                                                 Pg 38 of 40
    Ned Kleinschmidt
    (201) 527 6650
    nkleinschmidt@rpaadvisors.com
    Industry Experience
   Commodities
   Consumer Products
   Energy
   Financial Services
   Infrastructure
   Manufacturing
   Metals and Mining
   Real Estate and Construction
   Retail and Wholesale Distribution
   Telecommunications
   Toll Roads and 3P Entities
    Selected Cases
   Boston Generating LLC
   Calpine
   Energy XXI
   MACH Gen, LLC
   PG&E National Energy Group
   Polaroid Corporation
   Private Auto Parts Manufacturer
   Sunbeam Corporation
   Verasun Energy Corp.
   White Energy Corp.
   Over 38 Power Generation Matters
   Over 32 Ethanol and Biofuel Matters
   Over 24 Oil & Gas Matters
   Various other Commodity related Maters
    Experience
    Ned Kleinschmidt specializes in financial and advisory turnaround services. For over 20 years he has focused on
    advising debtors and lender groups in various distressed situations and bankruptcy matters. His consulting
    experience includes strategic planning, business plan analysis, complex negotiations, financings, mergers and
    acquisitions, interim management and fiduciary roles, cost reduction strategies and forensic services.
    Mr. Kleinschmidt has spent a large part of the last two decades as the CEO of, or advising lenders to a large
    number of commodity related and hard asset industries, including almost all value chain segments of oil & gas,
    power generation, mining and minerals, ethanol and biofuels. Mr. Kleinschmidt has served as a member of the
    board of directors, chairman of the board or CFO of over a dozen companies, encompassing industries such as
    telecom, energy, automotive and manufacturing.
    Prior to founding RPA Advisors in 2011, Mr. Kleinschmidt was a member of Capstone Advisory Group, a Senior
    Managing Director with FTI Consulting and was with Policano and Manzo. Previously, Mr. Kleinschmidt has also
18-13359-shl      Doc 698       Filed 03/01/19 Entered 03/01/19 16:55:22                  Main Document
                                              Pg 39 of 40
held chief financial officer and controllership positions in the senior and assisted living, manufacturing and real
estate industries and was an audit manager with Ernst & Young LLP.
Education and Affiliations
Mr. Kleinschmidt holds a B.A. in Public Accounting from Fordham University and an M.B.A. in Finance from Pace
University. He has been qualified as a Certified Insolvency and Restructuring Advisor and a Certified Public
Accountant. He is also a member of the Association of Insolvency and Restructuring Advisors, the Turnaround
Management Association, the American Institute of Certified Public Accountants and the New York Society of
Certified Public Accountants. He is recognized as an expert on restructuring and energy issues and has
presented, written and been called upon to provide expert testimony in these areas.
18-13359-shl     Doc 698    Filed 03/01/19 Entered 03/01/19 16:55:22            Main Document
                                          Pg 40 of 40


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of March, 2019, I caused a true and correct copy of

the foregoing Objection of the Senior Lenders to Motion to Compel Payment of Post-Petition

Rent and Related Obligations Pursuant to 11 U.S.C. § 365(d)(3) to be filed and served through

ECF notification upon all parties who receive notice in this matter pursuant to the Court’s ECF

filing system.


                                             /s/   Michael Luskin
                                             Michael Luskin
